CaSe 8-18-73386-|&8 DOC 18 Filed 02/28/19 Entered 02/28/19 16255:58

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Atturne_\' at L;n\'

February 28, 2019

Honorable Judge Louis A. Searcella
United States Bankruplcy Court

Eastern District ol`New Yorl<

Alt`onse l\/l. D`Amato Federal Courthouse
290 Federal Plaza

Central lslip, New Yor|< l I722

Debtor: Lndwig Andrew l\/Iathews
Case number: 8-18-73386-las
Chapter: 13

Dear lodge Seareella:
Two weeks ago l send to you a letter regarding my discussion with Alexandros lf. 'l`sionis. l~le had asl~'.ed l`or a holding
date of`02/28/19 because we were waiting on an address l`or the new servieer l`or the debtor to make his payment Onee the

payment was made, the motion was to be \\-'ithdra\\»'n. The new address was eventually provided and the debtor made his
mortgage payment (and the arrearage payinent) on 2-22-] 9.

Mr. Tsionis works with Shapiro, DiCaro & Barak, LLC, and this firm is counsel to the mortgage lender. The prior servieer
was Specialized Loan Servicing. l\/Ir. Tsioais explained that the debtor`s mortgage lender"s servieer ehanged effective

02/06/[9.

The debtor made the payment. however_ Mr. nl`sionis’s firm was supposed to \-vithdraw the motion. lnstead. his firm sent
an attorney to court today (the holding date) and asked for the motion to be granted.

This is NO'I` what the parties had agreed to and all ol"this is in a very clear trail ol` writing that was submitted to the eonrt.

Signing an order, approving the motion, goes against the letter submitted to the eourt on 2- 14»19 which discusses the
parties agreed to resolve via payment and withdraw. The debtor made the payment.

l am raising this concern because l was TObD the motion would be withdrawn once the payment was submitted The
payment was made. The withdraw was not snbmitted!

Regards_.

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c waynsz

ec: A|e.\'andros E. 'I`sionis, via email: atsionis(c'r`,i:logs.com

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Attorney at La“'

February 14, 2019

Honorable .Iudge Louis A. Scarcella
United States Bankruptcy Court

Eastern District ofNew York

Alfonse M. D’Amato Federal Couithouse
290 Federal Plaza

Central lslip, New York l 1722

Debtor: Ludwig Andrew Mathews
Case number: 8-18-7`3386-las
Chapter: 13

Dear Judge Scarcella:

'foday in court1 spoke with Alexandros E. Tsionis. l-Ie had asked for a holding date of02/28/19 in order to sort out the
items discussed below. 1 mentioned that 1 have another court appearance, at a different court, on that particular date. i\/lr.
Tsionis and l agreed the 02/2 8/19 date would be a “holding date” as we expect to resolve the pending matter as discussed
below prior to 02/28/19.

Mr. 'l`sionis works with Shapiro, DiCaro & Barak, LLC, and this firm is counsel to the mortgage lender. 'l`he prior servicer
was Specialized Loan Servicing. l\/lr. Tsionis explained that the debtor’s mortgage icndcr’s servicer changed effective
02/06/19.

Mr. Tsionis has acknowledged that the debtor has yet to receive payment instructions regarding future paymentsl l was
told that the new servicer is still working on setting up the account and will provide a new account number for the debtor
once they finish setting up the account The debtor will need the name. payment address, an account number, and payment
instructions for the new servicer.

The debtor is ready7 willing and able to pay the February mortgage payment and is waiting for payment instructions
regarding the new servicer. lt is my understanding that there is a past due suln of 3141.34 owed by the debtor. 'I`he debtor

is also ready, willing, and able to pay this small delinquent sum and is waiting on payment instructions

l\/lr. Tsionis and l discussed that, once the debtor knows where to make the above discussed payments1 the debtor will
make the payment and his firm would be willing to withdraw their prior motion.

The debtor is current with his plan payments to the trustee

Regards,

ec: Alexandros E. Tsionis, via email: atsionis@loas.com

